 Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 1 of 47 Page ID #:1

   Case 1:18-cv-03309-P~M *SEALED* Document 1 Filed 10/31/18 Page 1 of 47



                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND


FEDERAL TRADE COMMISSION

                         Plaintiff,

       v.                                                   Civil Action No:

ECOLOGICAL FOX, LLC, a Maryland limited liability
company, 1
                                                            COMPLAINT FOR
LUKE CHADWICK, individually and as an officer or          PERMANENT INJUNCTION
owner of Global Property Alliance, Inc. (also doing       AND OTHER EQUITABLE
business as Sanctuary Bay, Sanctuary Belize, The          RELIEF
Reserve, Kanantik, Laguna Palms, Bamboo Springs, Eco
Futures, Eco Futures Development, Eco Futures Belize,
Sittee River Wildlife Reserve, Buy Belize, Buy
International, and Buy Paradise), Sittee River Wildlife
Reserve (also doing business as Sanctuary Bay, Sanctuary
Belize, and The Reserve), Buy Belize, LLC (also doing
business as Sanctuary Bay, Sanctuary Belize, The
Reserve, Kanantik, Laguna Palms, and Bamboo Springs),
Buy International, Inc. (also doing business as Sanctuary
Bay, Sanctuary Belize, The Reserve, Kanantik, Laguna
Palms, and Bamboo Springs), Foundation Development
Management Inc., Eco Futures-Development (also doing
business as Sanctuary Bay, Sanctuary Belize, and The
Reserve), Eco-Futures Belize Limited (also doing business
as Sanctuary Bay, Sanctuary Belize, and The Reserve),
Power Haus Marketing, Prodigy Management Group,
LLC, Belize Real Estate Affiliates, LLC (also doing
business as Coldwell Banker Belize and Coldwell Banker
Southern Belize), Exotic Investor, LLC (also doing
business as Coldwell Banker Belize and Coldwell Banker
Southern Belize), and Southern Belize Realty LLC (also
doing business as Coldwell Banker Belize and Coldwell
Banker Southern Belize),

ANDRIS PUKKE, also known as Marc Romeo and Andy
Storm, individually and as an officer or owner of Global
Property Alliance, Inc. (also doing business as Sanctuary
Ba Sanctuar Belize, The Reserve, Kanantik, La una

       See Ex. A for all parties' addresses .
 Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 2 of 47 Page ID #:2

   Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 2 of 47



Palms, Bamboo Springs, Eco Futures, Eco Futures
Development, Eco Futures Belize, Sittee River Wildlife
Reserve, Buy Belize, Buy International, and Buy
Paradise), Sittee River Wildlife Reserve (also doing
business as Sanctuary Bay, Sanctuary Belize, and The
Reserve), Buy Belize, LLC (also doing business as
Sanctuary Bay, Sanctuary Belize, The Reserve, Kanantik,
Laguna Palms, and Bamboo Springs), Buy International,
Inc. (also doing business as Sanctuary Bay, Sanctuary
Belize, The Reserve, Kanantik, Laguna Palms, and
Bamboo Springs), Foundation Development Management
Inc., Eco Futures-Development (also doing business as
Sanctuary Bay, Sanctuary Belize, and The Reserve), Eco-
Futures Belize Limited (also doing business as Sanctuary
Bay, Sanctuary Belize, and The Reserve), Power Haus
Marketing, Prodigy Management Group, LLC, Belize
Real Estate Affiliates, LLC (also doing business as
Coldwell Banker Belize and Coldwell Banker Southern
Belize), Exotic Investor, LLC (also doing business as
Coldwell Banker Belize and Coldwell Banker Southern
Belize), and Southern Belize Realty LLC (also doing
business as Coldwell Banker Belize and Coldwell Banker
Southern Belize),

PETER BAKER, individually and as an officer or owner
of Global Property Alliance, Inc. (also doing business as
Sanctuary Bay, Sanctuary Belize, The Reserve, Kanantik,
Laguna Palms, Bamboo Springs, Eco Futures, Eco Futures
Development, Eco Futures Belize, Sittee River Wildlife
Reserve, Buy Belize, Buy International, and Buy
Paradise), Sittee River Wildlife Reserve (also doing
business as Sanctuary Bay, Sanctuary Belize, and The
Reserve), Buy Belize, LLC (also doing business as
Sanctuary Bay, Sanctuary Belize, The Reserve, Kanantik,
Laguna Palms, and Bamboo Springs), Buy International,
Inc. (also doing business as Sanctuary Bay, Sanctuary
Belize, The Reserve, Kanantik, Laguna Palms, and
Bamboo Springs), Foundation Development Management
Inc., Eco Futures-Development (also doing business as
Sanctuary Bay, Sanctuary Belize, and The Reserve), Eco-
Futures Belize Limited (also doing business as Sanctuary
Bay, Sanctuary Belize, and The Reserve), and Power Haus
Marketing,




                                              2
 Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 3 of 47 Page ID #:3

   Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 3 of 47



Sanctuary Belize, The Reserve, Kanantik, Laguna Palms,
Bamboo Springs, Eco Futures, Eco Futures Development,
Eco Futures Belize, Sittee River Wildlife Reserve, Buy
Belize, Buy International, and Buy Paradise,

SITTEE RIVER WILDLIFE RESERVE, an entity
organized under the laws of Belize, also doing business as
Sanctuary Bay, Sanctuary Belize, and The Reserve,

BUY BELIZE, LLC, a California limited liability
company, also doing business as Sanctuary Bay,
Sanctuary Belize, The Reserve, Kanantik, Laguna Palms,
and Bamboo Springs,

BUY INTERNATIONAL, INC., a California corporation,
also doing business as Sanctuary Bay, Sanctuary Belize,
The Reserve, Kanantik, Laguna Palms, and Bamboo
Springs,

FOUNDATION DEVELOPMENT MANAGEMENT
INC., a California corporation,

ECO-FUTURES DEVELOPMENT, a California
corporation, also doing business as Sanctuary Bay,
Sanctuary Belize, and The Reserve,

ECO-FUTURES BELIZE LIMITED, a company
organized under the laws of Belize, also doing business as
Sanctuary Bay, Sanctuary Belize, and The Reserve,

POWER HAUS MARKETING, a California corporation,

BRANDI GREENFIELD, individually and as an officer
or owner of Global Property Alliance, Inc. (also doing
business as Sanctuary Bay, Sanctuary Belize, The
Reserve, Kanantik, Laguna Palms, Bamboo Springs, Eco
Futures, Eco Futures Development, Eco Futures Belize,
Sittee River Wildlife Reserve, Buy Belize, Buy
International, and Buy Paradise), Sittee River Wildlife
Reserve (also doing business as Sanctuary Bay, Sanctuary
Belize, and The Reserve), Buy Belize, LLC (also doing
business as Sanctuary Bay, Sanctuary Belize, The
Reserve, Kanantik, Laguna Palms, and Bamboo Springs),
Buy International, Inc. (also doing business as Sanctuary
Bay, Sanctuary Belize, The Reserve, Kanantik, Laguna
Palm . and Bamboo S ri n s , Foundation Deve lo ment



                                                3
 Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 4 of 47 Page ID #:4

   Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31118 Page 4 of 47



Management Inc., Eco Futures-Development (also doing
business as Sanctuary Bay, Sanctuary Belize, and The
Reserve), Eco-Futures Belize Limited (also doing business
as Sanctuary Bay, Sanctuary Belize, and The Reserve),
Power Haus Marketing, and BG Marketing, LLC,

BG MARKETING, LLC, an Oklahoma limited liability
company,

PRODIGY MANAGEMENT GROUP, LLC, a Wyoming
limited liability company,

JOHN USHER, individually and as an officer or owner of
Sittee River Wildlife Reserve (also doing business as
Sanctuary Bay, Sanctuary Belize, and The Reserve) and
Eco-Futures Belize Limited (also doing business as
Sanctuary Bay, Sanctuary Belize, and The Reserve),

ROD KAZAZI, individually and as an officer or owner of
Global Global Property Alliance, Inc. (also doing business
as Sanctuary Bay, Sanctuary Belize, The Reserve,
Kanantik, Laguna Palms; Bamboo Springs, Eco Futures,
Eco Futures Development, Eco Futures Belize, Sittee
River Wildlife Reserve, Buy Belize, Buy International,
and Buy Paradise), Buy Belize, LLC (also doing business
as Sanctuary Bay, Sanctuary Belize, The Reserve,
Kanantik, Laguna Palms, and Bamboo Springs), Buy ·
International, Inc. (also doing business as Sanctuary Bay,
Sanctuary Belize, The Reserve, Kanarttik, Laguna Palms,
and Bamboo Springs), Eco Futures-Development (also
doing business as Sanctuary Bay, Sanctuary Belize, and
The Reserve), and Foundation Partners (formerly known
as Red Crane Advisors, Inc.),

FOUNDATION PARTNERS, a California corporation
formerly known as Red Crane Advisors, Inc.,

FRANK COSTANZO, also known as Frank Green, Frank
Peerless Green, Frank Connelly, and Frank Connelly-
Costanzo, individually and as officer or owner of
Ecological Fox, LLC, Buy International, Inc. (also doing
business as Sanctuary Bay, Sanctuary Belize, The
Reserve, Kanantik, Laguna Palms, and Bamboo Springs),
and Foundation Development Management, Inc.,




                                               4
 Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 5 of 47 Page ID #:5

   Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 5 of 47




BELIZE REAL ESTATE AFFILIATES, LLC, a limited
liability company organized under the laws of St. Kitts
and Nevis, also doing business as Coldwell Banker Belize
and Coldwell Banker Southern Belize,

EXOTIC INVESTOR, LLC, a limited liability company
organized under the laws of St. Kitts and Nevis, also
doing business as Coldwell Banker Belize and Coldwell
Banker Southern Belize,

SOUTHERN BELIZE REALTY, LLC, a limited liability
company organized under the laws of Belize, also doing
business as Coldwell Banker Belize and Coldwell Banker
Southern Belize,

SANCTUARY BELIZE PROPERTY OWNERS'
ASSOCIATION, a Texas non-profit corporation, also
doing business as The Reserve Property Owners'
Association, and

ATLANTIC INTERNATIONAL BANK, LTO., a
company organized under the laws of Belize,

                     Defendants, and

ANGELA CHITTENDEN,

BEACH BUNNY HOLDINGS, LLC, a California limited
liability company,

THE ESTATE OF JOHN PUKKE, also known as the
Estate of Janis Pukke and the Estate of John Andris
Pukke,

JOHN VIPULJS, and

DEBORAH CONNELLY,

                      Ret ief Defendants.


       Plaintiff, the Federal Trade Commission ("FTC"), for its Complaint alleges:




                                               5
 Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 6 of 47 Page ID #:6

   Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31118 Page 6 of 47



       1.      The FTC brings this action under Section 13(b) of the Federal Trade Commission

Act ("FTC Act"), 15 U .S.C. § 53(b), and the Telemarketing and Consumer Fraud and Abuse

Prevention Act ("Telemarketing Act"), 15 U.S.C. §§ 6101-6108, to obtain temporary,

preliminary, and permanent injunctive relief, rescission or reformation of contracts, restitution,

the refund of monies paid, disgorgement of ill-gotten gains, and other equitable relief for

Defendants' acts or practices in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), and

the Telemarketing Sales Rule ("TSR"), 16 C.F.R. Part 310, in connection with the marketing and

sale of real estate investments and related services.

       2.      Since 2005, Andris Pukke and his co-defendants have sold lots in a Southern

Belize real estate development. The development has had several names, including Sanctuary

Bay, Sanctuary Belize, and The Reserve (for ease, "Sanctuary Belize"). The Defendants sell

these lots primarily to Americans looking to retire abroad or seeking investment opportunities.

They target small business owners and couples nearing retirement. Among other things, they

claim the lots are low-risk investments that consumers can resell easily and enjoy 200%-300%

appreciation. They further claim that every dollar from lot sales goes into the development,

which will have all the amenities of an American luxury resort community, including a hospital,

hotels, a golf course, a spa, a casino, high-end boutiques, cafes, restaurants, and an "American-

style" supermarket. At all times relevant to the Complaint, the Defendants have promised

consumers that Sanctuary Belize would be finished quickly-often within two, and always

within five, years.

        3.     In fact, the lots are not low-risk investments. After twelve years of promises, the

development is nowhere close to finished and it is unlikely it will ever be finished. Many

consumers attempt to sell their lots on the open market and fail because there is no market for




                                                  6
 Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 7 of 47 Page ID #:7

   Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 7 of 47



them. Others sell their lots back to the Defendants years later at a loss, despite claims that the

lots would rapidly appreciate. Still other owners simply stop making payments on their lots.

Defendants then resell these lots to new victims without extinguishing or remunerating the prior

owner's interest--creating a situation in which two, three or even four victims may have an

interest in the same lot. There are more than 1,000 victims.

                                 JURISDICTION AND VENUE

        4.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337(a),

and 1345, and 15 U.S.C. §§ 45(a), 53(b), 6102(c), and 6105(b).

        5.     Venue is proper in this District under 28 U.S.C. § 1391(b)(2), (b)(3), (c)(2),

(c)(3), and (d), and 15 U.S.C. § 53(b).

                                            PLAINTIFF

        6.     The FTC is an independent agency ofthe United States Government created by

statute. 15 U.S.C. §§ 41-58. The FTC enforces Section 5(a) ofthe FTC Act, 15 U.S.C. § 45(a),

which prohibits unfair or deceptive acts or practices in or affecting commerce. The FTC also

enforces the Telemarketing Act, 15 U.S.C. §§ 6101-6108, and TSR, 16 C.F.R. Part 310, which

prohibits deceptive and abusive telemarketing acts or practices.

        7.     The FTC is authorized to initiate federal district court proceedings, by its own

attorneys, to enjoin violations of the FTC Act and TSR, and to secure such equitable relief as

may be appropriate in each case, including rescission or reformation of contracts, restitution, the

refund of monies paid, and the disgorgement of ill-gotten monies. 15 U.S.C. §§ 53(b), 6102(c),

and 6105(b).




                                                  7
 Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 8 of 47 Page ID #:8

   Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 8 of 47



                                        DEFENDANTS

       8.      Andris Pukke, who uses the aliases Marc Romeo and Andy Storm, resides in

Newport Beach, California. Although Pukke hides his role and does not legally own any ofthe

corporate defendants, he controls and participates in the conduct of the Sanctuary Belize

Enterprise ("SBE"), which is at the heart of the deceptive, unlawful real estate investment

scheme alleged in this Complaint. SBE includes Defendants Global Property Alliance, Inc.,

Sittee River Wildlife Reserve, Buy Belize, LLC, Buy International, Inc., Foundation

Development Management, Inc., Eco-Futures Development, Eco-Futures Belize Limited, Power

Haus Marketing, and Sanctuary Belize Property Owners' Association ("Core SBE Corporate

Defendants"), as well as the following individuals and companies that they own or control: Luke

Chadwick, John Usher, Rod Kazazi, Brandi Greenfield, Frank Costanzo (collectively, with

Pukke, "SBE Individual Defendants"), Prodigy Management Group LLC, Foundation Partners,

BG Marketing, LLC, Ecological Fox, LLC, Belize Real Estate Affiliates LLC, Exotic Investor

LLC, Southern Belize Realty LLC (collectively with the Core SBE Corporate Defendants, "SBE

Corporate Defendants"). Collectively, this Complaint refers to SBE Corporate Defendants and

SBE Individual Defendants as "SBE Defendants."

       9.      In 2003, Pukke purchased the parcel of land that ultimately became Sanctuary

Belize through defendant SR WR (BZ). He has since that time retained control over SBE.

Currently, all ofthe Core SBE Corporate Defendants operate from 3333 Michelson Drive in

Irvine California ("3333 Michelson"). From his corner office in 3333 Michelson, Pukke controls

SBE and participates in its activities by deciding salaries for SBE employees, hiring and firing

SBE employees, developing and designing SBE marketing and products, determining SBE

marketing strategy, specifying contract terms for sales within Sanctuary Belize, authorizing




                                                 8
 Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 9 of 47 Page ID #:9

   Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 9 of 47



payments to third parties, using SBE funds for his personal matters, and transferring SBE funds

to numerous family members. At all times material to this Complaint, acting alone or in concert

with others, he has formulated, directed, controlled, had the authority to control, or participated

in the acts and practices set forth in this Complaint. Defendant Pukke, in connection with the

matters alleged herein, transacts or has transacted business in this District and throughout the

United States.

        10.      Peter Baker resides in Newport Beach, California. Baker legally owns certain

Core SBE Corporate Defendants, including Global Property Alliance Inc., Eco-Futures

Development, and Eco-Futures Belize Limited. Baker is a bank signatory for two Core SBE

Corporate Defendants: Global Property Alliance, Inc. and Sittee River Wildlife Reserve. Baker

holds two of three board positions for two Core SBE Corporate Defendants: Foundation

Development Management, Inc. and Buy International Inc. As ofthe end of2016, Baker was the

Chairman of the Board for Sittee River Wildlife Reserve. Baker is also the CEO of Buy Belize,

LLC. ,Additionally, he maintains the Fictitious Business Name ("FBN") "Eco Futures." Global

Property Alliance (which Baker owns) has registered three additional FBNs: "Eco-Futures

Belize," "Eco-Futures Development," and "Sittee River Wildlife Reserve HOA." In these roles,

Baker controls and participates in the conduct alleged in the Complaint. Baker was also an

undisclosed party to the 2008 transaction approved by this Court through which Pukke was

ordered to turn over interests in Sanctuary Belize to a Court-appointed receiver. The

Commission used proceeds from those interests to repay Pukke's debt-relief scam victims.

Baker purchased Pukke's shares of Sanctuary Belize from the Court-appointed receiver so that

Pukke could maintain control over SBE, unbeknownst to the Court, the Receiver, and the FTC at

that time. At all times material to this Complaint, acting alone or in concert with others, he has




                                                  9
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 10 of 47 Page ID #:10

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 10 of 47



formulated, directed, controlled, had the authority to control, or participated in the acts and

practices set forth in this Complaint. Defendant Baker, in connection with the matters alleged

herein, transacts or has transacted business in this District and throughout the United States.

        11.    Global Property Alliance, Inc. ("GPA") is a California corporation with its

principal place of business at 3333 Michelson. GPA is a Core SBE Defendant whose owners

and officers include Baker, Greenfield, and Kazazi. Pukke is the de facto head ofGPA, with

Greenfield as his "right hand." Among other things, GPA controls the other SBE sales arms,

including Buy Belize and Buy International. Furthermore, GPA has the following registered

Fictitious Business Names ("FBN"): "Eco-Futures Development," "Eco-Futures Belize," and

"Sittee River Wildlife Reserve HOA." GPA also operates United States domestic bank accounts

under the following DBAs: "Eco Futures Belize" and "Sittee River Wildlife Reserve."

Currently and at times material to this Complaint, acting alone or in concert with others, GPA

has advertised, marketed, distributed, or sold SBE's real estate investments and related services

to consumers in this District and throughout the United States.

        12.     Sittee River Wildlife Reserve ("SRWR (BZ)") is a Belizean entity organized as a

nonprofit under the laws of Belize. SRWR (BZ) operates for its own profit or that of its

members or control people, including, at various times, Pukke, Baker, John Usher, and Luke

Chadwick. SRWR (BZ)'s de facto principal place ofbusiness is 3333 Michelson. As noted

above, SRWR (BZ) operates in the United States through fellow SBE member GPA, which

controls a United States domestic bank account in its name. Pukke originally created SRWR

(BZ) to hold the land for himself and SBE. Indeed, this Court has already recognized in the

AmeriDebt proceeding that land held in the name ofSRWR (BZ) was actually land held by and

for the benefit of Pukke, rather than land held by a genuine nonprofit. Furthermore, SR WR (BZ)




                                                  10
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 11 of 47 Page ID #:11

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 11 of 47



markets Sanctuary Belize lots solely for the profit of those who control it. SBE represents that

SRWR (BZ) holds title to the Sanctuary Belize land. It shares officers and owners with the for-

profit SBE Corporate Defendants, is operated by the SBE Individual Defendants to further the

deceptive scheme, and comingles funds with the rest of the SBE. At all times material to this

Complaint, acting alone or in concert with others, SRWR (BZ) has advertised, marketed,

distributed, or sold SBE's real estate investments and related services to consumers in this

District and throughout the United States.

          13.   Buy Belize, LLC ("Buy Belize") is a California limited liability company with its

principal place of business at 3333 Michelson. Baker is the managing member. Buy Belize

performs marketing functions for SBE, such as housing a telemarketing "boiler room," operating

a website, and running infomercials in its name. Currently and at times material to this

Complaint, acting alone or in concert with others, Buy Belize has advertised, marketed,

distributed, or sold SBE's real estate investments and related services to consumers in this

District and throughout the United States.

          14.   Buy International, Inc. ("Buy International") is a California entity with its

principal place ofbusiness at 3333 Michelson. Buy International performs marketing functions

for SBE, such as housing a telemarketing "boiler room," operating a website, and running

commercials in its name. Currently and at times material to this Complaint, acting alone or in

concert with others, Buy International has advertised, marketed, distributed, or sold SBE's real

estate investments and related services to consumers in this District and throughout the United

States.

          15.   Foundation Development Management Inc. ("FDM") is a California corporation

with its principal place of business at 3333 Michelson. FDM pays SBE telemarketers and funds




                                                  11
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 12 of 47 Page ID #:12

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 12 of 47



and performs real estate development functions. Currently and at times material to this

Complaint, acting alone or in concert with others, FDM has advertised, marketed, distributed, or

sold SBE's real estate investments and related services to consumers in this District and

throughout the United States.

       16.     Eco Futures Development ("Eco-Futures (US)") is a California corporation with

its principal place of business at 3333 Michelson. Defendant Rod Kazazi    incorporat~d   Eco-

Futures (US), which, among other things, receives consumers' lot payments and Belizean taxes

on behalf of SBE's Belizean members. Currently and at times material to this Complaint, acting

alone or in concert with others, Eco-Futures (US) has advertised, marketed, distributed, or sold

SBE's real estate investments and related services to consumers in this District and throughout

the United States.

        17.    Eco-Futures Belize Limited ("Eco-Futures (BZ)") is a Belizean entity Baker owns

and Usher manages. Eco-Futures (BZ) has a de facto principal place of business at 3333

Michelson, where communications purportedly from "Eco-Futures" entities are sent and

received. As noted above, Eco-Futures (BZ) operates in the United States through fellow SBE

member GPA, which registered a FBN allowing it to do business as "Eco-Futures Belize," and

operates a United States domestic bank account in the name of"Eco Futures Belize." SBE

represents that Eco-Futures (BZ) is the "developer" for Sanctuary Belize. In this role, Eco-

Futures (BZ) is a party to the lot sale agreement. Nonetheless, Eco-Futures (BZ) directs

American consumers to pay it at a California address, most recently 3333 Michelson. Currently

and at times material to this Complaint, acting alone or in concert with others, Eco-Futures (BZ)

has advertised, marketed, distributed, or sold SBE's real estate investments and related services

to consumers in this District and throughout the United States.




                                                12
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 13 of 47 Page ID #:13

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 13 of 47



       18.     Power Haus Marketing ("Power Haus") is a California corporation with its

principal place of business at 3333 Michelson. SBE uses Power Haus to purchase advertising.

Currently and at times material to this Complaint, acting alone or in concert with others, Power

Haus has advertised, marketed, distributed, or sold SBE' s real estate investments and related

services to consumers in this District and throughout the United States.

        19.    Luke Chadwick resides in Costa Mesa, California. He is SBE's public face in

many marketing materials, including infomercials. Chadwick describes himself as a Sanctuary

Belize "principal." As a principal, he signs contracts on behalf of Eco-Futures (BZ). Chadwick

physically interacts with consumers on SBE's behalf, including taking part in sales tours of

Sanctuary Belize and conducting webinars for consumers. Chadwick served as a SRWR (BZ)

director and owns the entities that control Coldwell Banker Belize: Southern Belize Realty,

LLC, Belize Realty Associates, LLC, and Exotic Investor LLC. Currently and at times material

to this Complaint, acting alone or in concert with others, he has formulated, directed, controlled,

had the authority to control, or participated in the acts and practices set forth in this Complaint.

Defendant Chadwick, in connection with the matters alleged herein, transacts or has transacted

business in this District and throughout the United States.

       20.     Prodigy Management Group, LLC ("Prodigy") is a Wyoming limited liability

company with its principal place of business at 3333 Michelson. Nominally an "independent

contractor," internal SBE documents treat Prodigy as the means through which SBE

compensates Chadwick. Currently and at times material to this Complaint, acting alone or in

concert with others, Prodigy has advertised, marketed, distributed, or sold SBE's real estate

investments and related services to consumers in this District and throughout the United States.




                                                  13
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 14 of 47 Page ID #:14

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 14 of 47



          21.   Brandi Greenfield resides in Irvine, California. Greenfield began as SBE's

"Director of Sales" in 2007 and serves as Pukke's "right hand." Among other things, she is a

GPA officer, signs contracts on behalf of Eco Futures (BZ), and directly participates in

marketing to consumers, personally making misrepresentations directly to consumers. Currently

and at times material to this Complaint, acting alone or in concert with others, she has

formulated, directed, controlled, had the authority to control, or participated in the acts and

practices set forth in this Complaint. Defendant Greenfield, in connection with the matters

alleged herein, transacts or has transacted business in this District and throughout the United

States.

          22.   BG Marketing, LLC ("BG Marketing") is an Oklahoma limited liability company

with its principal place of business at 3333 Michelson. Nominally an "independent contractor,"

BG Marketing is on SBE's payroll. It has no known operations other than receiving part of

Greenfield's compensation for SBE activities. Currently and at times material to this Complaint,

acting alone or in concert with others, BG Marketing has advertised, marketed, distributed, or

sold SBE's real estate investments and related services to consumers in this District and

throughout the United States.

          23.   John Usher resides in Belize. Usher became the Director of SRWR (BZ) in 2008

before buying the Sanctuary Belize parcel ofland from the Receiver appointed by this Court in

FTC v. AmeriDebt Inc., No. PJM 03-3317 (D. Md.). Usher continued as a SRWR (BZ) board

member until at least late 2013. He is a bank signatory onEco Futures (BZ)'s U.S. bank account

and is Sanctuary Belize Property Owners' Association's Director. Various SBE marketing

materials identifY Usher as the "Chairman," "developer," or "principal." In his role as a SBE

principal, Usher has visited Broward County, Florida, and Orange County, California, to meet




                                                  14
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 15 of 47 Page ID #:15

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 15 of 47



Pukke and transact SBE business. Additionally, Usher has met with numerous American

consumers during the SBE sales process, repeating many of the misrepresentations detailed

below. Currently and at times material to this Complaint, acting alone or in concert with others,

he has formulated, directed, controlled, had the authority to control, or participated in the acts

and practices set forth in this Complaint. Defendant Usher, in connection with the matters

alleged herein, transacts or has transacted business in this District and throughout the United

States.

          24.   Rod Kazazi resides in Newport Beach, California. Kazazi is GPA's CFO and, at

times, he has identified himself as GPA's COO (including in testimony to this Court). He has

negotiated contracts with consumers and third parties (including Sanctuary Belize lot buyback

agreements), responded to consumer complaints, directed financial transfers, incorporated SBE

entities, and was a bank signatory for SBE entity accounts-including GPA, SRWR (BZ), Eco

Futures (BZ), Eco Futures (US), and FDM. In November 2015, this Court held a hearing

regarding Pukke's supervised release from incarceration. At that hearing, this Court heard

testimony from Kazazi regarding the SBE. At that time, Kazazi testified that he had the

following roles: (i) as an SBE control person, he had authority over how funds are used to

develop Sanctuary Belize; (ii) as COO ofGPA, he worked with SRWR (BZ); (iii) as a control

person for GPA, he did business as Eco Futures; and (iv) as a control person for GPA, he had

hiring and firing authority within GPA. Separately, Kazazi also represented to SBE's current

payroll provider that he is the "owner" of Buy Belize and GPA. Currently and at times material

to this Complaint, acting alone or in concert with others, he has formulated, directed, controlled,

had the authority to control, or participated in the acts and practices set forth in this Complaint.




                                                  15
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 16 of 47 Page ID #:16

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 16 of 47



Defendant Kazazi, in connection with the matters alleged herein, transacts or has transacted

business in this District and throughout the United States.

       25.     Foundation Partners ("FP") is a California business entity with its principal place

of business at 3333 Michelson. Kazazi owns FP. Nominally an "independent contractor," FP is

on SBE's payroll. FP has a website that lists various development projects including Sanctuary

Belize and two others to which SBE has transferred millions. Currently and at times material to

this Complaint, acting alone or in concert with others, FP has advertised, marketed, distributed,

or sold SBE's real estate investments and related services to consumers in this District and

throughout the United States.

       26.     Frank Costanzo, who uses aliases Frank Green, Frank Peerless Green, Frank

Connelly, and Frank Connelly-Costanzo, resides in Los Angeles, California. Frank Costanzo is

married to proposed relief defendant Deborah Connelly. Costanzo was an attorney until both the

Maryland Court of Appeals and the Florida Supreme Court disbarred him for misappropriating

client funds and related misconduct. Costanzo is an officer for two SBE entities: Buy

International and FDM. In sales presentations, Costanzo presents himself as an environmental

expert and makes misrepresentations directly to consumers, including leading deceptive

presentations and accompanying potential buyers on property tours. As noted in SBE marketing

materials, Costanzo is "deeply involved" with Sanctuary Belize. Currently and at times material

to this Complaint, acting alone or in concert with others, he has formulated, directed, controlled,

had the authority to control, or participated in the acts and practices set forth in this Complaint.

Defendant Costanzo, in connect.ion with the matters alleged herein, transacts or has transacted

business in this District and throughout the United States.




                                                  16
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 17 of 47 Page ID #:17

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 17 of 47



       27.     Ecological Fox, LLC ("EF") is a Maryland limited liability company with an

address in Annapolis, Maryland, and with a de facto principal place of business at 3333

Michelson. Costanzo's wife legally owns this entity. EF has no known operations other than

receiving part of Costanzo's SBE compensation. Currently and at times material to this

Complaint, acting alone or in concert with others, EF has advertised, marketed, distributed, or

sold SBE's real estate investments and related services to consumers in this District and

throughout the United States.

       28.     Belize Real Estate Affiliates LLC ("BREA (NV)") is a limited liability company

organized under the laws of St. Kitts and Nevis with places of business at 3333 Michelson and in

Placencia, Belize. BREA (NV) was the Coldwell Banker franchisee that, in turn, owns Southern

Belize Realty, LLC. Along with Exotic Investor, LLC and Southern Belize Realty, LLC, BREA

(NV) operated a Coldwell Banker franchise used to market Sanctuary Belize and thwart

consumers' attempts to sell lots to third parties. Chadwick owns BREA (NV). BREA (NV) used

3333 Michelson for elements of its operations, it used U.S. addresses in communications with

Coldwell Banker, and it used a U.S. address for its domestic bank account. BREA (NV)'s

franchise agreement with Coldwell Banker is governed by U.S. law and subjects BREA (NV) to

U.S. jurisdiction for disputes arising out of its agreement. Coldwell Banker terminated the

franchise in December 2017, but Coldwell Banker Belize nonetheless continued operating under

the "Coldwell Banker" name for at least a period of time. At times material to this Complaint,

acting alone or in concert with others, BREA (NV) has advertised, marketed, distributed, or sold

SBE's real estate investments and related services to consumers in this District and throughout

the United States.




                                                17
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 18 of 47 Page ID #:18

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 18 of 47



       29.       Exotic Investor, LLC ("Exotic (NV)") is a limited liability company organized

under the laws of St. Kitts and Nevis with places of business in both Placencia, Belize and at

3333 Michelson. Exotic (NV) is the member ofBREA (NV). Chadwick, in turn, owns Exotic

(NV). In addition, as Exotic (NV), Chadwick produced and appeared in videos made to seem

like a reality TV show marketing Sanctuary Belize. At times material to this Complaint, acting

alone or in concert with others, Exotic (NV) has advertised, marketed, distributed, or sold SBE's

real estate investments and related services to consumers in this District and throughout the

United States.

       30.       Southern Belize Realty LLC ("SBR") is a limited liability company organized

under the laws of Belize that also does business as "Coldwell Banker Belize" and "Coldwell

Banker Southern Belize" with places of business at 3333 Michelson and in Placencia, Belize.

Chadwick owns SBR, which was a Coldwell Banker sub-franchisee until December 2017,

although SBR continued to use the "Coldwell Banker" name for at least some period of time.

Charmain Voss is a manager reporting to Chadwick. Chadwick and Voss use both

"@ColdwellBankerBelize.com" and "@SanctuaryBelize.com" email addresses, employees at

3333 Michelson coordinate travel arrangements for "Coldwell Banker Belize" employees, and

Voss has referred to "Coldwell Banker Belize" and "Sanctuary Belize" as "ONE TEAM." At

times material to this Complaint, acting alone or in concert with others, SBR has advertised,

marketed, distributed, or sold SBE's real estate investments and related services to consumers in

this District and throughout the United States.

       31.       Sanctuary Belize Property Owners' Association ("SBPOA"), also known as The

Reserve Property Owners' Association ("RPOA"), is a Texas non-profit corporation with its

principal place of business at 3333 Michelson. Although registered as a nonprofit, it is in fact




                                                  18
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 19 of 47 Page ID #:19

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 19 of 47



operated for the profit of its owners. Usher is its Director, and when SBE changed the

development's name from "Sanctuary Belize" to "the Reserve," SBPOA registered "The Reserve

Property Owners Association" as a trade name. SBE uses SBPOA to collect monthly

homeowners' association dues. In theory, these dues should support only owners' common

amenities; in reality, SBE commingles SBPOA funds with other SBE money by depositing

consumers' HOA payments into general GPA bank accounts. Both SBPOA and RPOA invoices

direct consumers to make checks payable to SRWR, and instruct consumers to mail checks to

"SRWR c/o Eco-Futures" at 3333 Michelson. Therefore, it comingles funds with for-profit

entities, and performs few services other than funneling money to these for-profit entities.

Currently and at times material to this Complaint, acting alone or in concert with others, SBPOA

has advertised, marketed, distributed, or sold SBE's real estate investments and related services

to consumers in this District and throughout the United States.

       32.     Atlantic International Bank Ltd. ("Atlantic International") is an entity organized

under the laws of Belize and based in Belize City, Belize. No American financial authority

regulates Atlantic International and it has no U.S. branches. Atlantic International is a so-called

"international" bank within Belize, meaning it markets its services to foreign consumers,

including Americans, instead of Belizeans or other individuals residing in Belize. Atlantic

International jointly markets with SBE and shares its physical address in Belize City with

Southern Belize Realty (d/b/a Coldwell Banker Southern Belize). Atlantic International visited

SBE's California offices and presented to SBE telemarketers regarding the services Atlantic

International could provide consumers, including lower interest rates and relaxed underwriting

for buyers wishing to finance Sanctuary Belize home construction. Atlantic International urged

the telemarketers to sell its banking services to American consumers as part of the Sanctuary




                                                 19
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 20 of 47 Page ID #:20

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 20 of 47



Belize sales pitch. As Atlantic International's CEO explained, the purpose ofthe marketing is to

create ongoing banking relationships with consumers residing in the United States. SBE

principal Chadwick filmed a marketing video endorsing Atlantic International at Atlantic

International's request, and Atlantic International provides financial services to SBE. Similarly,

Atlantic International's logo appears on SBE marketing materials provided to consumers in the

United States. Atlantic International also presents to consumers directly during Sanctuary Belize

tours, lending support and legitimacy to the sales process, while offering ongoing services to

individuals it knows are and will be based in the United States. Atlantic International further

assists SBE by providing Belizean banking facilities, both for the SBE itself and for the

consumers targeted by SBE, all while knowing that its clients are and will be based in the United

States. Furthermore, to provide its offshore banking services to Americans, such as SBE and

SBE's consumers, Atlantic International accepts wires from the SBE and American consumers

through American correspondent banks, including, for at least a significant period, the Bank of

New York Mellon. Currently and at times material to this Complaint, acting alone or in concert

with others, Atlantic International has assisted and facilitated in the TSR violations this

Complaint sets forth. Defendant Atlantic International, in connection with the matters alleged

herein, transacts or has transacted business in this District and throughout the United States. At

all times material to this Complaint, Atlantic International knew, or reasonably should have

known, that its acts in furtherance of its unlawful coordination with SBE in violation ofthe TSR

substantially affect the United States.




                                                 20
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 21 of 47 Page ID #:21

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 21 of 47



                                   RELIEF DEFENDANTS

       33.    Angela Chittenden is an individual who has received funds from the SBE

Defendants' deceptive and otherwise unlawful acts or practices alleged below to which she has

no legitimate claim. Chittenden resides in Newport Beach, California.

       34.     Beach Bunny Holdings, LLC ("Beach Bunny Holdings") is an entity that has

received funds from the SBE Defendants' deceptive and otherwise unlawful acts or practices

alleged below to which it has no legitimate claim. Beach Bunny Holdings is a California limited

liability company with its principal place of business at 3333 Michelson.

       35.     The Estate of John Pukke, also known as the Estate of Janis Pukke and the Estate

of John Andris Pukke, is a New York entity that has received funds from the SBE Defendants'

deceptive and otherwise unlawful acts or practices alleged below to which it has no legitimate

claim. This is the estate for Andris Pukke's late father, who died in 2010. Andris Pukke is the

co-executor of the estate and has signatory authority on Estate of John Pukke bank accounts

receiving money from the SBE Defendants.

       36.     John Vipulis is an individual who has received funds from the SBE Defendants'

deceptive and otherwise unlawful acts or practices alleged below to which he has no legitimate

claim. After this Court civilly incarcerated Pukke in the AmeriDebt matter, Vipulis paid $4.5

million to end Pukke's civil incarceration. The order releasing Pukke prohibited Pukke from

repaying this loan before fully satisfying his monetary debt to the FTC. Nonetheless, through

payments from SBE to Vipulis, Pukke has repaid Vipulis more than $3 million before satisfying

his monetary debt to the FTC. Vipulis resides in Las Vegas, Nevada.

       37.     Deborah Connelly is an individual who has received funds from SBE Defendants'

deceptive and otherwise unlawful acts or practices alleged below to which she has no legitimate




                                               21
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 22 of 47 Page ID #:22

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 22 of 47



claim. She is a Maryland attorney married to Defendant Frank Costanzo. Connelly resides in

Los Angeles, California.

                                    COMMON ENTERPRISE

       38.     The SBE Corporate Defendants have operated as a common enterprise while

engaging in the deceptive acts and practices and other violations of law alleged below. The SBE

Corporate Defendants have conducted the business practices described below through an

interrelated network of companies that have common ownership, officers, managers, business

functions, employees, and office locations, and with commingled funds. Because the SBE

Corporate Defendants have operated as a common enterprise, each of them is jointly and

severally liable for the acts and practices alleged below. The SBE Individual Defendants have

formulated, directed, controlled, had the authority to control, or participated in the acts and

practices ofthe SBE Corporate Defendants that constitute the common enterprise.

                                  ASSISTING & FACILITATING

       39.     Defendant Atlantic International has assisted and facilitated the acts and practices

alleged herein. Therefore, Atlantic International is jointly and severally liable for the acts and

practices that violate the TSR.

                                           COMMERCE

       40.     At all times material to this Complaint, Defendants have maintained a substantial

course of trade in or affecting commerce, as "commerce" is defined in Section 4 of the FTC Act,

14 u.s.c. § 44.




                                                 22
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 23 of 47 Page ID #:23

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31118 Page 23 of 47



                           DEFENDANTS' BUSINESS ACTIVITIES

                      The Sanctuary Parcel and the AmeriDebt Litigation

       41.     In 2003, the FTC sued Pukke and companies he controlled (AmeriDebt and

Debtworks) under Section 5 ofthe FTC Act and the Gramm-Leach-Bliley Act. Specifically, the

FTC alleged that Pukke lured financially-strapped consumers into expensive debt management

plans ("DMPs") meant to consolidate debt. The FTC alleged that AmeriDebt took consumers'

entire first payment as a "contribution" without their authorization (i.e., the entire first payment

went to Pukke, and none to the consumer's creditors). The FTC further alleged that Pukke took

portions of subsequent payments as "contributions" without authorization. Pukke pleaded the

Fifth Amendment rather than testify. The parties resolved the litigation through a stipulated

2006 Final Order.

       42.     The 2006 Final Order imposed monetary obligations on Pukke and appointed a

Receiver to collect funds and assets from Pukke. Among other things, the 2006 Final Order

required Pukke to turn over to the Receiver rights to an enormous parcel of land in Southern

Belize (the "Sanctuary Parcel"). At that time, the Sanctuary Parcel covered more than 12,000

acres (approximately nineteen square miles, or the size of a small city). SBE markets Sanctuary

Belize, which includes the Sanctuary Parcel, as even Iarger-14,000 acres-(approximately

twenty-two square miles, approximately the size of Manhattan).

       43.     In 2007, on the Receiver's motion, the Court found Pukke and his childhood

friend, a co-defendant here, Baker, in contempt for refusing to turn over assets to the Receiver,

including the Sanctuary Parcei. The Court ordered Pukke and Baker to comply, banned Pukke

from leaving the United States, and threatened to incarcerate both if they failed to cooperate (the

"Turnover Order").




                                                 23
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 24 of 47 Page ID #:24

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 24 of 47



        44.       Specifically, the Turnover Order obligated Pukke and Baker "individually and

collectively" to turn over Pukke's interests in the Sanctuary Parcel, including whatever interests

he had in 2005, "and/or that were acquired or arose thereafter ... whether or not all or any

portion of [the rights] have been transferred to and/or initially acquired by one or more persons

or entities[.]"

        45.       Both Pukke and Baker defied the Turnover Order.

        46.       Following a contempt hearing, the Court characterized their conduct as

"mendacious" and emphasized that both Pukke and Baker "lied on the record numerous times,"

including some claims the Court found "ludicrous." Accordingly, the Court ordered their

coercive incarceration.

        47.       The FTC and Receiver subsequently consented to Baker's conditional release

pursuant to an order requiring him to cooperate in collecting Pukke's assets. The FTC and the

Receiver later consented to Pukke's conditional release pursuant to a similar Conditional Release

Order and two payments totaling $4.5 million on Pukke's behalf from relief defendant Vipulis.

To secure Pukke's release, Vipulis agreed to pay the Receiver $1.25 million for Latvian property

and $3.25 million as a loan to Pukke. Notably, the Court's Conditional Release Order required

Vipulis "to subordinate repayment of [his] loan to satisfaction in full of the FTC judgment." The

Order also prohibited Pukke from "repay[ing] all or any portion of the Vipulis Loan" before

satisfying the 2006 FTC judgment as "agreed to by the FTC" or found by the Court.

        48.       In 2008, the Court approved the Receiver's sale ofthe Sanctuary Parcel to SBE

Corporate Defendant SRWR (BZ) for $2 million. The Receiver accepted only $2 million largely

because SRWR (BZ) aggressively resisted the Receiver's efforts to control the property

notwithstanding the Turnover Order.




                                                  24
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 25 of 47 Page ID #:25

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 25 of 47



       49.       Significantly, five years earlier, Pukke helped create SRWR (BZ), although he

purportedly ceded control to a Belizean shrimp farmer, SBE Individual Defendant Usher, prior to

the 2008 sale.

       50.       Unbeknownst to the FTC, the Receiver, and the Court, the sale was in fact the

result of Baker having "surfaced [an] investor who agreed to invest $2 million," which SRWR

(BZ) used to purchase Pukke's rights from the Receiver. SBE explained that, "[w]ith the

settlement payment made [to the Receiver], Andris' equity shares were conveyed to Peter Baker

and the original core development investors."

       51.       As a result, Pukke maintained control over the Sanctuary Parcel through Baker

despite the Receivership and the Turnover Order.

    The Current Deceptive Scheme: Using False Promises to Sell Sanctuary Belize Lots

                                    Phase One: Telemarketing

       52.       SBE encourages consumers to contact it through commercials on Fox News and

Bloomberg, infomercials, and other national advertising.

       53.       These advertisements target American consumers on behalf of the Belizean

entities Eco-Futures (BZ) and SRWR (BZ), the ultimate developer and vendor for the lot

purchases.

       54.       The national advertising drives consumers to websites, such as buybelize.com.

The websites make few claims, instead encouraging consumers to submit their contact

information to learn more.

       55.       Typically, consumers who express interest then receive a call from California-

based telemarketers. The telemarketers identity themselves as "property consultants" or

"investment consultants."




                                                 25
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 26 of 47 Page ID #:26

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 26 of 47



       56.      These calls, from United States-based telemarketers, are at least ostensibly on

behalf of Belizean SBE entities Eco-Futures (BZ) and SRWR (BZ), who are listed as the

developer and vendor on lot sale agreements.

       57.      During these calls, the telemarketers screen anyone unable to make a substantial

down payment.

       58.      The telemarketers make various claims about the development including:

             a. SBE uses a "no debt" business model. The "no debt" model makes Sanctuary

                Belize a less risky investment than one in which the developer has to make

                payments to creditors.

             b. In part because ofthe "no debt" model, every dollar SBE collects from lot sales .

                goes back into the development.

             c. This funding stream means SBE will finish the development quickly-within two

                to three years, or within five years.

             d. The finished development will feature numerous amenities including a hospital

                staffed with American physicians and nurses near the development, an emergency

                medical center near the downtown "Marina Village," a championship-caliber golf

                course, an airstrip within the development, and a new international airport nearby

                with direct flights to and from the United States. The Marina Village, which is

                the heart of the community, will include high-end boutiques, restaurants, cafes, an

                American-style grocery store, an elegant casino, a hotel, and a 250-slip world-

                class marina.

             e. These impressive amenities mean the lots will appreciate from 200% to 300%

                within two to three years.




                                                  26
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 27 of 47 Page ID #:27

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 27 of 47



             f.   Consumers can realize the rapid appreciation without difficulty because there is

                  already a robust resale market, making it easy to resell the lots should they choose

                  to do so.

       59.        In addition to developing rapport, learning about the consumer, and making these

six claims, typically, SBE encourages the consumer to participate in a longer webinar about the

development.

       60.        During the webinar, another telemarketer speaks to the consumer over the phone

while showing photos and graphics regarding the development on the consumer's computer. The

telemarketer repeats the six claims above, makes additional claims, and answers questions.

       61.        The telemarketer also sells the consumer on visiting Belize to tour the property.

SBE offers an all-inclusive package, usually $999 per couple, that covers lodging at a nearby

resort, local transportation, and meals.

       62.        In numerous instances, SBE persuades consumers to sign a "non-binding lot

reservation agreement." Pursuant to this agreement, consumers pay $2,000 to $10,000 to obtain

a right of first refusal on a particular Jot. After they view the development, SBE will apply the

payment to their purchase of the reserved Jot, or another lot, or return it if they decide not to buy.

       63.        Although most consumers place down payments on lots and then travel to

Sanctuary Belize before purchasing, many consumers purchase lots without ever going to Belize

to see the property or meeting with a sales person.

       64.        The telemarketing also frequently includes marketing for Atlantic International's

banking services. NotabJy, Atlantic International visited SBE's California offices and presented

to SBE telemarketers regarding the services Atlantic International could provide consumers,

including lower interest rates and relaxed underwriting for buyers wishing to finance Sanctuary




                                                   27
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 28 of 47 Page ID #:28

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 28 of 47



Belize home construction. Atlantic International urged the telemarketers to sell its banking

services to American consumers as part of the Sanctuary Belize sales pitch. As Atlantic

International's CEO explained, the purpose ofthe marketing is to create ongoing banking

relationships with consumers residing in the United States.

                         Phase Two: Tour of the Development in Belize

        65.     Most purchasers take part in a tour of Sanctuary Belize as part ofthe sales

process. The tour is a multi-day trip to Belize during which consumers receive a steady stream

of claims like those received during the initial telemarketing.

        66.     Typically, consumers make their own arrangements to reach Belize City on a

Thursday. From there, they fly to an airstrip in remote southern Belize, where SBE employees

greet them. SBE then brings the consumers to a resort in Southern Belize, typically about twenty

miles from Sanctuary Belize.

        67.     On Friday and Saturday, consumers then tour Sanctuary Belize, visit lots, and

attend sales presentations. The tour group sometimes includes SBE "plants," purported

consumers who are actually being paid by SBE to attend the tours, who express enthusiasm for

the development.

        68.     Although most consumers visit the lot they have reserved or are otherwise

interested in purchasing, many do not visit their specific lot. These consumers are shown the

development in general and perhaps shown a portion of part ofthe development where the lot

they are interested in is located.

        69.     SBE guides remove any consumers who ask skeptical questions.

        70.     The sales presentations reiterate the representations made by the telemarketers,

typically providing even more detail. For instance, some presentations provided additional




                                                 28
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 29 of 47 Page ID #:29

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 29 of 47



details on the promised hospital, including specific information about when it will open

(typically within two years), what staff it will have (typically American doctors and nurses), and

what procedures it will offer (usually advanced treatments ranging from organ transplants to

chemotherapy).

       71.     In numerous instances, Chadwick, Costanzo, and other SBE principals attend or

present at these sales presentations. The sales presentations reiterate six core claims about

Sanctuary Belize: (i) that SBE uses a "no debt" business model that reduces risk to consumers;

(ii) that every dollar from lot sales goes back into the development; (iii) the funding stream

means SBE will finish the development quickly-within two to three years, or within five years;

(iv) the finished development will have specific amenities one would expect in an American

luxury resort community; (v) the lots will appreciate from 200% to 300% within two to three

years; and (vi) consumers can realize this appreciation through a robust resale market.

       72.     Consumers often meet Usher when visiting Sanctuary Belize.

       73.     Usher knows that these consumers reside in the United States and are touring

Sanctuary Belize in response to U.S. telemarketing. Usher also knows that lot sales will create

long-term financial relationships with American consumers who will make lot payments from

the United States.

       74.     In the early days of the scam, some consumers met Pukke, then using the alias

"Marc Romeo." Pukke used an alias because, as he has previously testified, he knew that at least

some people were concerned that consumers would not buy lots from someone with two federal

convictions related to consumer fraud.

       75.     In fact, if consumers ask about Pukke, SBE, including other SBE principals like

Chadwick and Costanzo, falsely assure them that Pukke is no longer involved with Sanctuary




                                                 29
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 30 of 47 Page ID #:30

   Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 30 of 47



Belize. If pressed, they sometimes assert that Pukke's involvement is limited to marketing

activities.

        76.    In numerous -instances, consumers attend presentations from Atlantic

International, builders controlled by SBE insiders, and sometimes Coldwell Banker Belize.

        77.    Atlantic International in fact created ongoing banking relationships with

American consumers who reside in the United States as a result of the telemarketing and in

person presentations.

        78.    Atlantic International is frequently present during in-person sales presentations to

consumers and, therefore, has heard over several years sales people promise consumers

amenities and features that have not been completed within the promised time periods.

Similarly, as a sophisticated lender, it should know that SBE's claim that its "no debt" model

reduces risks to consumers is false.

        79.    Typically, on Saturday or Sunday, SBE takes consumers by boat to a small

private island that is part of Sanctuary Belize. The ride takes approximately forty minutes, and

the SBE boat is the only way to leave the island. SBE invites each couple to a private meeting.

To get to the meeting, they wade offshore to a small thatch-roofed gazebo suspended over the

water. Inside, consumers and SBE negotiate over the lots.

         80.   The negotiations vary, but SBE seeks the maximum immediate cash down

payment even to the detriment of other deal terms. Atlantic International representatives

sometimes help facilitate cash payments, but only "developer financing" is available-

consumers are strongly discouraged from involving traditional lenders.

        81.    Consumers typically purchase the property outright, or make a down payment and

then make additional payments over time to SBE directly. In most cases, SBE collects the




                                                30
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 31 of 47 Page ID #:31

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 31 of 47



12.5% Belizean General Sales Tax ("GST") on full purchases, down payments, and monthly

payments.

       82.     Additionally, consumers typically agree to make $100 monthly payments to the

property owners' association. SBE also collects 12.5% GST on homeowner's association

payments, meaning these payments are typically $112.50 per month per lot.

       83.     The lots typically cost $150,000 to $500,000. The "Memorandum of Sale" for

lots typically directs payments for the lot and Belizean taxes to Eco-Futures (BZ) at a California

address, most recently at 3333 Michelson.

       84.     Some consumers purchase multiple lots. In many instances, they do so because

SBE claims that the lots' value will so rapidly increase they will be able to sell one for a profit

and use the proceeds to build a house on the other.

       85.     Consumers report that nearly everybody who attends a tour purchases at least one

lot. Typically, after SBE finishes the one-on-one meetings, it returns the consumers to the hotel

where there is a celebration for the "new owners."

       86.     Throughout, the intrinsic characteristics of specific Sanctuary Belize lots do not

substantially affect consumers' decisions. SBE does not include information about soil

composition, mineral rights, vegetation, or other features ofthe specific lots in the sales pitch.

        87.    Internally, SBE discusses the idea of selling a "dream"-that is, the dream of

becoming an owner in Sanctuary Belize in general. As a result, owners put substantial deposits

on lots before visiting Sanctuary Belize, and many buy their lots during the tour without seeing

the lot they are buying.




                                                  31
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 32 of 47 Page ID #:32

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31118 Page 32 of 47



       88.     Internal SBE communications reveal instances in which SBE tour guides are told

to "switch" a consumer from one lot to another during the tour, typically because SBE has taken

two deposits on the same lot.

       89.     SBE can switch consumers from lot to lot during the tour because the specific lot

itself is not the primary motivation to buy; rather, consumers want the amenities and investment

value that SBE promises.

                                Phase Three: Continuing Payments

       90.     After consumers return to the United States, they make any additional down

payments or monthly payments.

       91.     Typically, consumers make these payments to SBE entities at 3333 Michelson.

For the property owners' association payments, consumers typically send their checks to 3333

Michelson or to a separate address maintained by the SBPOA in Texas.

       92.     SBE continues to send marketing to consumers, referring to them as "new

owners" and attempting to keep them happy so that they will keep making payments.

                     Phase Four: Unwinding Transactions and Buybacks

       93.     Although sales began thirteen years ago, in a development roughly the size of

Manhattan, SBE has only completed portions of the electrical infrastructure, a two-pump gas

station, a bodega or general store, a pool, an open-air restaurant and bar, and part of the promised

marina. Approximately a dozen homes are complete, many occupied by persons associated with

SBE.

       94.     Many consumers become dissatisfied once they realize that SBE is not

completing the development as promised and that their investments are not appreciating as SBE

claimed.




                                                 32
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 33 of 47 Page ID #:33

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 33 of 47



       95.     Many of these consumers attempt to force SBE to buy back their lots or provide

refunds. SBE initially tells consumers that they do not provide refunds or buy back lots.

Nonetheless, some consumers convince SBE to repurchase the lots, but they typically receive

less than they paid, and never receive the promised appreciation as part of the buy back

agreement.

       96.     The March 15, 2013 buy back agreement for Sapodilla Ridge Lot No. 156 is

representative. The agreement recites that the lot was originally purchased on July 11, 2012 and

that the purchaser had so far paid $56,414.60 towards the lot purchase, $50,276.60 to SBE and

$6,138.00 collected by SBE for Belize's General Sales Tax. The agreement then specifies that in

return for giving up the lot, the buyer will receive $50,276.60 over six monthly payments. Thus,

even if SBE made the promised payments, this consumer incurred a substantial loss.

       97.      Some consumers attempt to resell their lots on the open market. These consumers

discover there is no such market, that Coldwell Banker Southern Belize will not attempt in good

faith to sell their lots, and that many local realtors will not list or show Sanctuary Belize lots. If

they do, SBE limits their access to the development to one day a week, and removes the "for

sale" sign, or otherwise obstructs the resale.

       98.      Some consumers simply stop making payments. In these cases, SBE threatens

and then proceeds with "foreclosure," although the process it calls "foreclosure" consists solely

of notices or letters from SBE or its Belizean counsel. After a period oftime from sending the

letter, which varies from owner to owner, SBE treats the owner's rights to the lot as extinguished

and resells the lot to a new consumer. SBE does not tell new consumers about the lot's history,

or that another consumer may have rights to the lot.




                                                  33
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 34 of 47 Page ID #:34

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31118 Page 34 of 47



          99.    Consumers believe they own the lots, and SBE tells them-repeatedly-that they

do. However, during the so-called "foreclosure" process, SBE no longer treats them as owners.

SBE does not refund or credit consumers the amount they have paid (i.e., return the consumers'

payments and cancel the contract), nor does it credit consumers for the lots' value (i.e., pay the

consumers the difference between the lot's value upon resale and the amounts the consumer

owes SBE). Instead, SBE simply keeps the consumer's money and resells the lot to a new

victim.

                                   SBE's Sales Claims Are False

          100.   Although SBE claims its "no debt" model reduces risk for consumers, the

opposite is true. Reasonable debt would have significant risk-reducing features that benefit

consumers, including that: (i) creditors provide consistent cashflow to complete the

development; (ii) creditors perform underwriting to ensure the developer is trustworthy and

capable, and that the project is feasible; and (iii) creditors monitor the developer's progress to

ensure the development is completed. The absence of these features actually increases the risk to

consumers.

          101.   SBE's claim that "every dollar" from the lot sales goes into Sanctuary Belize is

false because significant funds are used for personal expenses or otherwise funneled to people,

companies, and projects unrelated to Sanctuary Belize.

          102.   SBE's claim that it will finish the development within two, three, or five years is

also false. SBE has made this claim for at least 12 years and the development is still largely

unfinished. Furthermore, SBE will not be able to generate the income necessary to complete the

project within the next five years.

          103.   As a result, the development also will not contain the promised amenities.




                                                  34
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 35 of 47 Page ID #:35

  Case 1:18-cv-03309-PJM *SEALED* Doc.ument 1 Filed 10/31/18 Page 35 of 47



        104.   Additionally, the Sanctuary Belize lots are not experiencing the promised "rapid

appreciation," nor will they. This is apparent from the fact that many consumers cannot sell their

lots for any price or convince SBE to repurchase them other than at a loss.

        105.   Similarly, the promised resale market does not exist. Consumers cannot resell

their lots at all, let alone for amounts in excess of what they paid.

        106.    Contrary to SBE's sales representations, Pukke in fact is significantly involved

with Sanctuary Belize. He is, and always has been, SBE's primary control person.

                               VIOLATIONS OF THE FTC ACT

        107.    Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits "unfair or deceptive acts

or practices in or affecting commerce."

        108.    Misrepresentations or deceptive omissions of material fact constitute deceptive

acts or practices prohibited by Section 5(a) of the FTC Act.

                                        Count I -Deception
                                         (SBE Defendants)

        109.    In numerous instances in connection with the advertising, marketing, promotion,

offering for sale, or sale of real estate investments and related services, SBE Defendants have

represented, directly or indirectly, expressly or by implication that:

                a.      the SBE Defendants use a "no debt" business model to develop Sanctuary

                        Belize, which makes lots in Sanctuary Belize a less risky investment than

                       one in which the developer makes payments to creditors;

                b.     every dollar the SBE Defendants collect from Sanctuary Belize lot sales

                       goes back into the development;

               c.      the SBE Defendants will finish Sanctuary Belize quickly, including within

                       two to three years, or within five years;



                                                  35
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 36 of 47 Page ID #:36

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 36 of 47



               d.     the finished Sanctuary Belize will have all of the amenities expected of an

                      American luxury resort community, such as: (i) a hospital staffed with

                      American physicians and nurses near the development; (ii) an emergency

                      medical center near the downtown "Marina Village;" (iii) a championship-

                      caliber golf course; (iv) a local airport within the development; (v) a new

                      international airport nearby with direct flights to and from the United

                      States; (vi) a "Marina Village" containing high-end boutiques, restaurants,

                      cafes, an American-style grocery store, an elegant casino, and a hotel; and

                      (vii) a 250-slip world-class marina;

               e.      Sanctuary Belize lots will appreciate rapidly, such as 200% to 300%

                      within two to three years;

               f.     consumers can realize the rapid appreciation of their lots within Sanctuary

                      Belize because there is a robust resale market through which consumers

                      could easily resell their Jots should they choose to do so; and

               g.     Andris Pukke has had no meaningful involvement with the SBE

                      Defendants.

       110.    In truth and in fact, in numerous instances in which the SBE Defendants have

made the representations set forth in Paragraph I 09 of this Complaint:

               a.     the SBE Defendants' use of a "no debt" model, if true, would make

                      consumers' investments more risky;

               b.     the SBE Defendants do not put every dollar collected on Sanctuary Belize

                      Jot sales back into Sanctuary Belize;




                                                36
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 37 of 47 Page ID #:37

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31118 Page 37 of 47



               c.      the SBE Defendants have not yet completed Sanctuary Belize and will not

                       complete Sanctuary Belize within the next five years;

               d.      Sanctuary Belize does not contain, and will not contain within the next

                       five years, all of the amenities expected of an American luxury resort

                       community, such as: (i) a hospital staffed with American physicians and

                       nurses near the development; (ii) an emergency medical center near the

                       downtown "Marina Village;" (iii) a championship-caliber golf course; (iv)

                       a local airport within the development; (v) a new international airport

                       nearby with direct flights to and from the United States; (vi) a "Marina

                       Village" containing high-end boutiques, restaurants, cafes, an American-

                       style grocery store, an elegant casino, and a hotel; and (vii) a 250-slip

                       world-class marina;

               e.      Sanctuary Belize lots are not rapidly appreciating, including not

                       appreciating by 200% to 300% over the course of two or three years;

               f.      consumers cannot realize any appreciation of their lots within Sanctuary

                       Belize because there is not a robust resale market;

               g.      Andris Pukke has, and continues to have, a meaningful role with the SBE

                       Defendants.

       111.    Therefore, the SBE Defendants' representations as set forth in Paragraph 109 of

this Complaint are false or misleading and constitute deceptive acts or practices in violation of

Section 5(a) ofthe FTC Act, 15 U.S.C. § 45(a).




                                                 37
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 38 of 47 Page ID #:38

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 38 of 47



                                  VIOLATIONS OF THE TSR

       112.    Congress directed the FTC to prescribe rules prohibiting abusive and deceptive

telemarketing acts or practices pursuant to the Telemarketing Act, 15 U.S.C. §§ 6101-6108, in

1994. The FTC adopted the original Telemarketing Sales Rule ("TSR") in 1995, extensively

amended it in 2003, and amended certain sections thereafter. 16 C.F.R. Part 310.

       113.    The SBE Defendants are "seller[s]" or "telemarketer[s]" engaged in

"telemarketing" as defined by the TSR, 16 C.F .R. § 31 0.2(dd), (ff), and (gg).

        114.   Atlantic International is a "person" within the meaning of the TSR, which defines

"person" to mean "any individual, group, unincorporated association, limited or general

partnership, corporation, or other business entity." 16 C.F.R. § 31 0.2(y).

        115.   The SBE Defendants are offering, offering for sale, or selling an "investment

opportunity" within the meaning of the TSR when offering, offering for sale, or selling the

Sanctuary Belize lots. The TSR defines "investment opportunity" to mean "anything tangible or

intangible, that is offered, offered for sale, sold, or traded based wholly or in part on

representations, either express or implied, about past, present, or future income, profit, or

appreciation." 16 C.F.R. § 310.2(s).

        116.   The TSR prohibits sellers and telemarketers from misrepresenting directly or by

implication, in the sale of goods or services, any of the following material information:

               a.      Any material aspect of the performance, efficacy, nature, or central

                       characteristics of goods or services that are the subject of a sales offer. 16

                       C.F .R. § 31 0.3(a)(2)(iii).




                                                      38
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 39 of 47 Page ID #:39

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 39 of 47



                b.       Any material aspect of an investment opportunity including, but not

                         limited to, risk, liquidity, earnings potential, or profitability. 16 C.F.R. §

                         31 0.3(a)(2)(vi).

        117.    The TSR prohibits any person from providing substantial assistance or support to

any seller or telemarketer when that person knows or consciously avoids knowing that the seller

or telemarketer is engaged in any act or practice that violates 16 C.F.R. §§ 310.3(a), 310.3(c),

31 0.3(d), or 31 0.4. !d. § 31 0.3(b).

        118.    Pursuant to Section 3(c) ofthe Telemarketing Act, 15 U.S.C. § 6102(c), and

Section 18(d)(3) ofthe FTC Act, 15 U.S.C. § 57a(d)(3), a violation ofthe TSR constitutes an

unfair or deceptive act or practice in or affecting commerce, in violation of Section 5(a) ofthe

FTC Act, 15 U.S.C. § 45(a).

                                 Count II- TSR Misrepresentations
                                         (SBE Defendants)

        119.     In numerous instances, in connection with the telemarketing of its goods and

services, the SBE Defendants have misrepresented, directly or indirectly, expressly or by

implication, material aspects of the performance, efficacy, nature, or central characteristics of

such goods and services, including, but not limited to:

                 a.      the SBE Defendants use a "no debt" business model to develop Sanctuary

                         Belize, which makes lots in Sanctuary Belize a less risky investment than

                         one in which the developer makes payments to creditors;

                 b.      every dollar the SBE Defendants collect from Sanctuary Belize lot sales

                         goes back into the development;

                c.       the SBE Defendants will finish Sanctuary Belize quickly, including within

                         two to three years, or within five years;



                                                   39
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 40 of 47 Page ID #:40

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 40 of 47



              d.      the finished Sanctuary Belize will have all of the amenities expected of an

                      American luxury resort community, such as: (i) a hospital staffed with

                      American physicians and nurses near the development; (ii) an emergency

                      medical center near the downtown "Marina Village;" (iii) a championship-

                      caliber golf course; (iv) a local airport within the development; (v) a new

                      international airport nearby with direct flights to and from the United

                      States; (vi) a "Marina Village" containing high-end boutiques, restaurants,

                      cafes, an American-style grocery store, an elegant casino, and a hotel; and

                      (vii) a 250-slip world-class marina;

              e.      Sanctuary Belize lots will appreciate rapidly, such as 200% to 300%

                      within two to three years;

              f.      consumers can realize the rapid appreciation of their lots within Sanctuary

                      Belize because there is a robust resale market through which consumers

                      could easily resell their lots should they choose to do so; and

              g.      Andris Pukke has had no meaningful involvement with the SBE

                      Defendants.

       120.   In truth and in fact, in numerous instances in which the SBE Defendants have

made the representations set forth in Paragraph 119 ofthis Complaint:

              a.      the SBE Defendants' use of a "no debt" model, iftrue, would make

                      consumers' investments more risky;

              b.      the SBE Defendants do not put every dollar collected on Sanctuary Belize

                      lot sales back into Sanctuary Belize;




                                               40
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 41 of 47 Page ID #:41

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 41 of 47



               c.     the SBE Defendants have not yet completed Sanctuary Belize and will not

                      complete Sanctuary Belize within the next five years;

               d.     Sanctuary Belize does not contain, and will not contain within the next

                      five years, all of the amenities expected of an American luxury resort

                      community, such as: (i) a hospital staffed with American physicians and

                      nurses near the development; (ii) an emergency medical center near the

                      downtown "Marina Village;" (iii) a championship-caliber golf course; (iv)

                      a local airport within the development; (v) a new international airport

                       nearby with direct flights to and from the United States; (vi) a "Marina

                       Village" containing high-end boutiques, restaurants, cafes, an American-

                       style grocery store, an elegant casino, and a hotel; and (vii) a 250-slip

                      world-class marina;

               e.      Sanctuary Belize lots are not rapidly appreciating, including not

                       appreciating by 200% to 300% over the course of two or three years;

               f.      consumers cannot realize any appreciation of their lots within Sanctuary

                       Belize because there is not a robust resale market;

               g.     Andris Pukke has, and continues to have, a meaningful role with the SBE

                       Defendants.

       121.    Therefore, the SBE Defendants' acts or practices, as described in Paragraphs 119

and 120, violate the TSR, 16 C.F.R. § 310.3(a)(2)(iii).

                             Count III- Investment Opportunities
                                      (SBE Defendants)

       122.    In numerous instances, in connection with the telemarketing of investment

opportunities, the SBE Defendants have misrepresented, directly or indirectly, expressly or by



                                                 41
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 42 of 47 Page ID #:42

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 42 of 47



implication, the risk, liquidity, earnings potential, profitability, or any other material aspect of the

investment opportunities, including, but not limited to:

                a.      the SBE Defendants use a "no debt" business model to develop Sanctuary

                        Belize, which makes lots in Sanctuary Belize a less risky investment than

                        one in which the developer makes payments to creditors;

                b.      every dollar the SBE Defendants collect from Sanctuary Belize lot sales

                        goes back into the development;

                c.      the SBE Defendants will finish Sanctuary Belize quickly, including within

                        two to three years, or within five years;

                d.      the finished Sanctuary Belize will have all of the amenities expected of an

                        American luxury resort community, such as: (i) a hospital staffed with

                        American physicians and nurses near the development; (ii) an emergency

                        medical center near the downtown "Marina Village;" (iii) a championship-

                        caliber golf course; (iv) a local airport within the development; (v) a new

                        international airport nearby with direct flights to and from the United

                        States; (vi) a "Marina Village" containing high-end boutiques, restaurants,

                        cafes, an American-style grocery store, an elegant casino, and a hotel; and

                        (vii) a 250-slip world-class marina;

                e.      Sanctuary Belize lots will appreciate rapidly, such as 200% to 300%

                        within two to three years;

                f.      consumers can realize the rapid appreciation of their lots within Sanctuary

                        Belize because there is a robust resale market through which consumers

                        could easily resell their lots should they choose to do so; and




                                                  42
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 43 of 47 Page ID #:43

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 43 of 47



              g.      Andris Pukke has had no meaningful involvement with the SBE

                      Defendants.

       123.   In truth and in fact, in numerous instances in which the SBE Defendants have

made the representations set forth in Paragraph 122 of this Complaint:

               a.     the SBE Defendants' use of a "no debt" model, if true, would make

                      consumers' investments more risky;

               b.     the SBE Defendants do not put every dollar collected on Sanctuary Belize

                      lot sales back into Sanctuary Belize;

               c.     the SBE Defendants have not yet completed Sanctuary Belize and will not

                      complete Sanctuary Belize within the next five years;

               d.     Sanctuary Belize does not contain, and will not contain within the next

                      five years, all of the amenities expected of an American luxury resort

                      community, such as: (i) a hospital staffed with American physicians and

                      nurses near the development; (ii) an emergency medical center near the

                      downtown "Marina Village;" (iii) a championship-caliber golf course; (iv)

                      a local airport within the development; (v) a new international airport

                      nearby with direct flights to and from the United States; (vi) a "Marina

                      Village" containing high-end boutiques, restaurants, cafes, an American-

                      style grocery store, an elegant casino, and a hotel; and (vii) a 250-slip

                      world-class marina;

               e.     Sanctuary Belize lots are not rapidly appreciating, including not

                      appreciating by 200% to 300% over the course of two or three years;




                                                43
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 44 of 47 Page ID #:44

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 44 of 47



               f.      consumers cannot realize any appreciation oftheir lots within Sanctuary

                       Belize because there is not a robust resale market;

               g.      Andris Pukke has, and continues to have, a meaningful role with the SBE

                       Defendants.

       124.    Therefore, the SBE Defendants' acts or practices, as described in Paragraphs 122

and 123, violate the TSR, 16 C.F.R. § 310.3(a)(2)(vi).

                              Count IV - Assisting and Facilitating
                                    (Atlantic International)

       125.    In numerous instances in connection with the SBE Defendants' violations of the

TSR as set forth in Counts II and III above, Atlantic International provided substantial assistance

or support to the SBE Defendants, who are sellers and telemarketers.

        126.   Atlantic International knew or consciously avoided knowing that the SBE

Defendants were engaged in acts or practices that violated the TSR as set forth in Counts II and

III above.

        127.   Atlantic International's acts and practices, as described in Paragraphs 125 and 126

of this Complaint, are deceptive telemarketing acts or practices that violate Section 31 0.3(b) of

the TSR.


                            Count V- Relief Defendants
  (Chittenden, Beach Bunny Holdings, The Estate of John Pukke, Vipulis, and Deborah
                                      Connelly)

       128.    Relief Defendants Chittenden, Beach Bunny Holdings, The Estate of John Pukke,

Vipulis, and Deborah Connelly have received, directly or indirectly, funds and other assets

obtained from SBE Defendants' customers through the deceptive and otherwise unlawful acts or

practices described herein.




                                                 44
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 45 of 47 Page ID #:45

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 45 of 47



        129.       Relief Defendants Chittenden, Beach Bunny Holdings, The Estate of John Pukke,

Vipulis, and Deborah Connelly are not bona fide purchasers with legal and equitable title to

SBE Defendants' customers' funds or other assets, and will be unjustly enriched if they are not

required to return the funds or the value of the benefits they received as a result of Defendants'

deceptive and otherwise unlawful acts or practices.

        130.       By reason of the foregoing, Relief Defendants Chittenden, Beach Bunny

Holdings, The Estate of John Pukke, Vipulis, and Deborah Connelly hold funds and assets in

constructive trust for the benefit of the SBE Defendants' customers.

                                        CONSUMER INJURY

        131.       Consumers have suffered and will continue to suffer substantial injury as a result

of Defendants' violations of the FTC Act and TSR. In addition, Defendants have been unjustly

enriched as a result of their unlawful acts or practices. Absent injunctive relief by this Court,

Defendants are likely to continue to injure consumers, reap unjust enrichment, and harm the

public interest.

                           THIS COURT'S POWER TO GRANT RELIEF

        132.       Section 13(b) ofthe FTC Act, 15 U.S.C. § 53(b), empowers this Court to grant

injunctive and such other relief as the Court may deem appropriate to halt and redress violations

of any provision of law enforced by the FTC. The Court, in the exercise of its equitable

jurisdiction, may award ancillary relief, including rescission or reformation of contracts,

restitution, the refund of monies paid, and the disgorgement of ill-gotten monies, to prevent and

remedy any violation of any provision of law enforced by the FTC.




                                                    45
Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 46 of 47 Page ID #:46

  Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 46 of 47



                                     PRAYER FOR RELIEF

       Wherefore, Plaintiff FTC, pursuant to Section 13(b) of the FTC Act, 15 U .S.C. § 53(b ),

Section 6(b) of the Telemarketing Act, 15 U.S.C. § 61 05(b), and the Court's own equitable

powers, requests that the Court:

       A.      Award Plaintiff such preliminary injunctive and ancillary relief as may be

necessary to avert the likelihood of consumer injury during the pendency of this action and to

preserve the possibility of effective final relief, including but not limited to, temporary and

preliminary injunctions, an order freezing assets, immediate access, appointment of a receiver,

and an accounting;

        B.     Enter a permanent injunction to prevent future violations of the FTC Act and TSR

by Defendants;

        C.     Award such relief as the Court finds necessary to redress injury to consumers

resulting from Defendants' violations ofthe FTC Act and TSR, including, but not limited to,

rescission or reformation of contracts, restitution, the refund of monies paid, and the

disgorgement of ill-gotten monies;

       D.      Enter an order requiring the Relief Defendants to disgorge all funds and assets, or

the value of the benefits they received from the funds and assets, which are traceable to

Defendants' deceptive and otherwise unlawful acts or practices; and

        E.     Award Plaintiffthe costs ofbringing this action, as well as such other and

additional relief as the Court may determine to be just and proper.




                                                 46
 Case 8:18-mc-00032 Document 1 Filed 11/29/18 Page 47 of 47 Page ID #:47

   Case 1:18-cv-03309-PJM *SEALED* Document 1 Filed 10/31/18 Page 47 of 47



                                   Respectfully submitted,

                                   Alden F. Abbott
                                   General : t~e }
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Dated:                             //     /
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                                   ATTORNEYS FOR PLAINTIFF
                                   FEDERAL TRADE COMMISSION



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                                              that the toreC]otm "'locument 1s a ful. .rue and orrect
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